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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             DO C K EU NO. 201 1 cv 563
ZULEIKA POLONIA.

                              Plaintiff.
                                                             RULE 56.1 STATEMENT OF
                                                             UNCONTESTED MATERIAL
                                                             FACTS
                -again st

ROBERT J. DUNN IY, SUSAN F. NEVINS,
HERTZ VEHICLES, LLC, And I IERTZ
CORPORATION,

                              Defendants.


       The plaintiff ZULEUKA POLONIA, by and through her attorneys DNKES &

SCHWITZER, P.C.. hereby submits the following statement pursuant to Rule 56.1 of the rules of

the Southern ad District courts of the State of New York together with the plaintiffs affidavit, and

the Exhibits annexed to the within motion:

        I.      On October 25, 2009, the plaintific ZULEIKA POLONIA was the operator of a

Toyota motor vehicle registered in New York State bearing plate number BPR5372. (See pLaintiffs

Affidavit annexed to the within motion, and also Exhibits “A”, “B”, & “C”

       2.       On OctoL
                   1 25, 2009, dcLndit-ReBER++—9PH*was-t-operathr-üfa-frd———————

motor vehicle registered in New York State bearing plate number ESS9464. (See Defendants’

Response to Notice to Admit annexed to the motion as Exhibit “F”)

       3.       On October 25, 2009 Defendant. SUSAN E. NEVINS, rented the subject ford motor

vehicle registered in new york State bearing plate number E5S9464 from Hertz and consented and

pemitted ROBERT I DUNPHY to operate said motor vehicle. (See defendant’s response to

plaintiffs Notice to Admit annexed to the motion as Exhibit “E”)
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       4.      On October 25, 2009, the plaintiff, ZULEIKA POLONIA’s vehicle was rear ended

by the vehicle operated by DUtPHY (Plaintiff’s Affidavit, Exhibit “C” pp. 16. 18, 20-21, 88-89,

Exhibit “H” pp. 43-44, Exhibit 1” pp. 13-14).

Dated: New York, New York
       February 10, 2011


                                                   Respectfully submitted,


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                                                   JOELLE T. JENSEN J
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